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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

   CYTIVA SWEDEN AB, and                      )
   GLOBAL LIFE SCIENCES                       )
   SOLUTIONS USA, LLC,                        )
                                              )
                 Plaintiffs,                  )
                                              )
     v.                                       ) C.A. No. 18-1899-CFC-SRF
                                              )
   BIO-RAD LABORATORIES, INC.,                ) CONSOLIDATED
                                              )
                 Defendant.                   )


           PLAINTIFFS’ MOTION TO EXCLUDE EXPERT OPINIONS
                        OF DR. THOMAS KEARL

          Pursuant to Federal Rule of Evidence 702 and Federal Rule of Evidence 703,

  Plaintiffs Cytiva Sweden AB and Global Life Sciences Solutions USA LLC

  (collectively, “Plaintiffs”) file this motion to exclude the expert opinions,

  testimony, and/or any calculations of Dr. Thomas Kearl that are based on prior

  license agreements that have no technical comparability to the Asserted Patents,

  incorporated in his Rebuttal Expert Report at paragraphs 119-124, 136, 138, Table

  4, and Exhibit F. The grounds for this Motion are set forth in Plaintiffs’ Opening

  Brief in Support of Motion to Exclude Expert Opinions and the supporting

  Declaration of Amy DeWitt and exhibits, filed concurrently.
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        NOW, THEREFORE, Plaintiffs respectfully request that the Court grant this

  Motion in the form of the Proposed Order attached as Exhibit A.

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   Dated: December 15, 2020




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